                Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 1 of 19




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

           MACK S. SMITH,                              :    MOTION TO VACATE
              Movant,                                  :    28 U.S.C. § 2255
                                                       :
                    v.                                 :    CRIMINAL INDICTMENT NO.
                                                       :    1:08-CR-0043-CC-AJB-3
           UNITED STATES OF AMERICA,                   :
               Respondent.                             :    CIVIL FILE NO.
                                                       :    1:12-CV-3153-CC-AJB
                                                       :

                               UNITED STATES MAGISTRATE JUDGE’S
                              FINAL REPORT AND RECOMMENDATION

                    Movant has filed a 28 U.S.C. § 2255 motion to vacate, set aside, or correct his

           federal sentence entered in this Court under the above criminal docket number. The

           matter is before the Court on the motion to vacate, [Doc. 230], the government’s

           answer-response, [Doc. 239], Movant’s motion to amend, [Doc. 246], and the

           government’s response to the motion to amend, [Doc. 247]. For reasons discussed

           below, Movant’s motion to amend is DENIED and it is RECOMMENDED that his

           motion to vacate be DENIED.

           I.       Background

                    The United States Department of the Army Forces Command (“FORSCOM”)

           makes decisions on the award of government contracts for water purification systems



AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 2 of 19




           used by the United States Army. [Doc. 1, Attach. at 3-4.] Movant’s criminal action

           involved FORSCOM’s award of Defense Department contracts to prime contractors

           (one of which was Stanley Associates) and sub-contractors (one of which was WATEC

           Inc., owned by Movant). [Id. at 5-6; Doc. 230, Mem. at 1-2.]

                        Defendant Richard Long is a former civilian employee of the Army;
                 he served as a Water and Petroleum Program Manager from 1991 to 2004.
                 During that time, Long reviewed contract bids and supervised contractor
                 performance for the Army’s contracts for water purification equipment
                 and services. Long also compiled contract requests, which included a
                 statement of the work the Army needed and an estimate on how much the
                 contract should cost.

                       ....

                       Long helped WATEC win contracts by providing WATEC
                 employees with confidential information about the contracts and the
                 government’s pricing specifications before WATEC submitted its bid.
                 WATEC would tailor its bid based on that information and set its price as
                 close as possible to the price the government was willing to pay. This
                 access to confidential information gave WATEC an advantage in the
                 bidding process.

                       Long also frequently wrote “sole-source justifications” that allowed
                 the government to award contracts to WATEC without going through a
                 competitive bidding process. Instead, the government awarded the
                 contract directly to WATEC based on Long’s assertion that WATEC was
                 the only contractor capable of performing the work.

                       The government awarded over $66 million in contracts to WATEC
                 during Long’s employment. During this time, [Movant] or WATEC made
                 55 payments to Long of between $1,000 and $75,000. The payments were

                                                     2


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 3 of 19




                 routed to accounts held by Long, his wife, or his wife’s sister. The
                 payments to Long totaled $549,700.

           United States v. Smith, 429 Fed. Appx. 840, 842 (11th Cir. June 7, 2011).

                 The Grand Jury sitting in the Northern District of Georgia indicted Movant on

           the following counts: (1) conspiracy to commit honest services mail and wire fraud and

           to commit bribery of a public official; (2-40) bribery of a public official, in violation

           of 18 U.S.C. § 201(b)(1)(A); (80-104) honest services wire fraud, in violation of

           18 U.S.C. §§ 1343 and 1346; and (105) money laundering, in violation of 18 U.S.C.

           § 1957. [Doc. 1, Attach.] Although Long testified at trial that all of the payments from

           [Movant] were loans, a loan agreement did not exist, Long never paid back any of the

           money, and the jury did not credit the testimony that the payments were only loans.

           See Smith, 429 Fed. Appx. at 842-43. The jury found Movant guilty on Counts 2-39

           and 80-105 for bribery, wire fraud, and money laundering – the jury found Movant not-

           guilty on Count 1, and Count 40 was dismissed on the government’s motion. [Doc. 133

           and Oral Order at entry dated 2/13/2009.] The Court sentenced Movant to a total term

           of 150 months of imprisonment. [Doc. 167.]

                 On appeal, Movant raised the following issue – he was deprived of his Sixth

           Amendment right for obtaining witnesses when the District Court allowed Mary Anne



                                                      3


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 4 of 19




           Osborn to invoke her Fifth Amendment rights to avoid testifying.                   Smith,

           429 Fed. Appx. at 843. The Eleventh Circuit found no error in the District Court’s

           decision, and, on June 7, 2011, it affirmed the judgment against Movant. Id. at 844,

           846.

                  In his § 2255 motion, Movant presents four grounds for relief. [Doc. 230 at 5-9.]

           Movant labels his grounds as Grounds Five through Eight, which numbering the Court

           follows: (5) ineffective assistance of trial counsel for failing to argue that there was a

           reasonable doubt that Movant was guilty under the bribery statute;1 (6) appellate

           counsel provided ineffective assistance for failing to argue on appeal (a) the issue of

           Osborn’s testimony as a matter of prosecutorial misconduct and (b) that the bribery

           conviction was invalid (as argued in Ground Five);2 (7) prosecutorial misconduct for

           violating Brady3 and failing to disclose the depth of exculpatory evidence Osborn could


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                       Movant’s claim that appellate counsel was ineffective on the matters raised
           in Ground Five is addressed under Ground Six, in which Movant raises the same claim.
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                        Movant’s claim in Ground Six – that appellate counsel was ineffective for
           failing to argue that the honest-services and money-laundering convictions were
           negated based on the invalidity of the bribery conviction – is addressed under Ground
           Eight, in which he raises the same claim.
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                        Brady v. Maryland, 373 U.S. 83, 87 (1963) (“[T]he suppression by the
           prosecution of evidence favorable to an accused upon request violates due process
           where the evidence is material either to guilt or to punishment, irrespective of the good

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AO 72A
(Rev.8/8
2)
             Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 5 of 19




           provide and for initiating an investigation of Osborn for the purpose of obstructing her

           testimony in Movant’s case; and (8) ineffective assistance of trial and appellate counsel

           for failing to argue that the honest-services and money-laundering convictions were

           negated based on the invalidity of the bribery conviction. [Id. at 5-9.]

           II.   28 U.S.C. § 2255 Standard

                 Section 2255 of Title 28 allows a district court to vacate, set aside, or correct a

           federal sentence that was imposed in violation of the Constitution or laws of the United

           States or was imposed by a court without jurisdiction, exceeds the maximum sentence

           authorized by law, or is otherwise subject to collateral attack. 28 U.S.C. § 2255.

           Collateral relief, however, is limited, and “[o]nce [a] defendant’s chance to appeal has

           been waived or exhausted, . . . we are entitled to presume he stands fairly and finally

           convicted.” United States v. Frady, 456 U.S. 152, 164 (1982). A “final judgment

           commands respect[, and] . . . a collateral challenge may not do service for an appeal.”

           Id. at 165. Thus, “once a matter has been decided adversely to a defendant on direct

           appeal it cannot be re-litigated in a collateral attack under section 2255.” Gilbert v.

           United States, 640 F.3d 1293, 1331 (11th Cir. 2011) (quoting United States v. Nyhuis,

           211 F.3d 1340, 1343 (11th Cir. 2000)) (internal quotation marks omitted), cert. denied,


           faith or bad faith of the prosecution.”).

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AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 6 of 19




           _ U.S. _, 132 S. Ct. 1001 (2012). Further, a defendant “must assert all available claims

           on direct appeal,” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004), and

           claims that a § 2255 movant could have asserted on direct appeal, but did not, generally

           are procedurally barred absent (1) a showing of cause for the default and actual

           prejudice or (2) a showing of a fundamental miscarriage of justice or actual innocence,

           McKay v. United States, 657 F.3d 1190, 1196 (11th Cir. 2011), cert. denied, _ U.S. _,

           133 S. Ct. 112 (2012).4 Section 2255 relief “is reserved for transgressions of

           constitutional rights and for that narrow compass of other injury that could not have

           been raised in direct appeal and would, if condoned, result in a complete miscarriage


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                         “[T]o show cause for procedural default, [a movant] must show that some
           objective factor external to the defense prevented [him] or his counsel from raising his
           claims on direct appeal . . . ” or that the matter was not raised because of ineffective
           assistance of counsel. Lynn, 365 F.3d at 1235; see also Reece v. United States,
           119 F.3d 1462, 1468 (11th Cir. 1997) (holding that, absent an “objective factor external
           to the defense” as cause, the movant must show that the default was caused by
           ineffective assistance of counsel (quoting Murray v. Carrier, 477 U.S. 478, 488 (1986))
           (internal quotation marks omitted)). If a petitioner shows cause, he also must show
           prejudice – that the error complained of “worked to his actual and substantial
           disadvantage, infecting his entire trial with error of constitutional dimensions.” Reece,
           119 F.3d at 1467 (emphasis in original) (quoting Frady, 456 U.S. at 170) (internal
           quotation marks omitted). To make a credible showing of actual innocence, “a movant
           ‘must show that it is more likely than not that no reasonable juror would have found
           [him] guilty beyond a reasonable doubt’ in light of . . . new evidence of innocence.”
           McKay, 657 F.3d at 1196 (alteration in original) (quoting Schlup v. Delo, 513 U.S. 298,
           327 (1995)).

                                                      6


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 7 of 19




           of justice.” Lynn, 365 F.3d at 1232 (quoting Richards v. United States, 837 F.2d 965,

           966 (11th Cir. 1988)) (internal quotation marks omitted); see also Massaro v. United

           States, 538 U.S. 500, 505-09 (2003) (holding that a constitutional claim of ineffective

           assistance of counsel generally is properly raised on collateral review in order to allow

           for adequate development and presentation of relevant facts).

                 On collateral review, the defendant is no longer presumed innocent, the

           conviction is presumed valid, and it is the petitioner’s burden to establish his right to

           relief. See Dist. Attorney’s Office for Third Judicial Dist. v. Osborne, 557 U.S. 52, 68-

           69 (2009) (citing Herrera v. Collins, 506 U.S. 390, 399 (1993)); Mackey v. United

           States, 221 Fed. Appx. 907, 910 (11th Cir. Mar. 30, 2007) (stating that § 2255 movants

           have the “burden of establishing their right to relief from the judgment against them”).

                 “An evidentiary hearing is not required when ‘the motion and the files and

           records of the case conclusively show that the prisoner is entitled to no relief.’ ”

           Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (quoting § 2255). That

           is the case here, as shown in the discussion below.




                                                      7


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 8 of 19




           III.   Discussion

                  A.    Ground Five

                        1.     Additional Background

                  At trial, Michael J. Trost, counsel for Movant, argued during opening that,

           although Long provided input on picking subcontractors, it was Stanley who decided

           which subcontractors it would use on the contracts that they had received for water

           work for the military; that it was Stanley who picked WATEC; and that it was primarily

           Stanley, not Long, that supervised the performance of the job. [Doc. 193 at 213-14,

           224, 226.] In closing, Trost argued that the government’s theory of a quid pro quo –

           of [Movant] giving money to Long for contracts – did not stand up based, in part, on

           the roles played by Stanley versus Long in picking WATEC. [Doc. 206 at 2626.] Trost

           argued that “[i]t was Stanley, not Mr. Long, not the government, but Stanley, after they

           got the contract, they decided to use WATEC.” [Id. at 2634.] Trost reminded the jury

           that “it was Stanley who chose WATEC.            It wasn’t Mr. Long, it wasn’t the

           government.” [Id. at 2646.] Trost argued that the government had not substantiated

           that Movant had bribed Long – “You have heard no credible evidence that would

           permit you to believe that the process was corrupted. To the contrary, WATEC earned




                                                      8


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 9 of 19




           the right to these contracts, which were issued in most cases, again, by Stanley, the

           prime contractor.” [Id. at 2649.]

                        2.     Parties’ Arguments

                 Movant asserts that trial counsel provided ineffective assistance by failing to

           argue at trial that his bribery conviction was unsustainable (a) because Long lacked

           influence over the official acts of procuring a contract or task for Movant; (b) because

           Long lacked legal authority to make any decision as to who received a task or contract,

           Long’s input as a technical consultant (and his intent to influence) in the award process

           was required (not corrupt), and Long’s input was only one of many factors considered

           by the contracting officer; and (c) because Movant’s lack of intent to influence Long

           is shown by the fact that the contracting officer picked a prime contractor (Stanley –

           who had sole authority to pick a sub-contractor) and Movant (who was one of several

           sub-contractors with Stanley) could have no reasonable expectation of benefitting from

           an attempt to influence the contracting officer to award a contract or task to Stanley.

           [Doc. 230, Mem. at 9-25.]

                        3.     Law and Recommendation

                 A criminal defendant possesses a Sixth Amendment right to “reasonably

           effective” legal assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984). To

                                                      9


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 10 of 19




           show constitutionally ineffective assistance of counsel, a petitioner must establish that

           (1) counsel’s representation was deficient and (2) counsel’s deficient representation

           prejudiced him. Id. at 690-92. The Court may resolve an ineffective assistance claim

           based on either of the above prongs. Bottoson v. Moore, 234 F.3d 526, 532 (11th Cir.

           2000). Under the first prong, a petitioner must show that “in light of all the

           circumstances, the identified acts or omissions were outside the wide range of

           professionally competent assistance.” Strickland, 466 U.S. at 690. Under the second

           prong, a petitioner “must show that there is a reasonable probability that, but for

           counsel’s unprofessional errors, the result of the proceeding would have been different.

           A reasonable probability is a probability sufficient to undermine confidence in the

           outcome.” Id. at 694. The habeas petitioner has the burden of affirmatively proving

           prejudice, and a “conceivable effect” on the proceedings does not show prejudice.

           Wood v. Allen, 542 F.3d 1281, 1309 (11th Cir. 2008) (quoting Strickland, 466 U.S.

           at 693) (internal quotation marks omitted).        The petitioner has the burden of

           establishing his claim by a preponderance of competent evidence. Chandler v. United

           States, 218 F.3d 1305, 1313 (11th Cir. 2000) (en banc).

                 The statute governing bribery of public officials provides:

                        Whoever--

                                                      10


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 11 of 19




                 (1) directly or indirectly, corruptly gives, offers or promises anything of
                 value to any public official or person who has been selected to be a public
                 official, or offers or promises any public official or any person who has
                 been selected to be a public official to give anything of value to any other
                 person or entity, with intent--

                        (A) to influence any official act . . .

                 shall be fined . . . or imprisoned . . . or both . . . .

           18 U.S.C. § 201(b)(1)(A); United States v. Sun-Diamond Growers of Cal., 526 U.S.

           398, 404-05 (1999) (discussing elements of § 201(b)(1) as requiring a quid pro quo,

           giving of something of value to a public official with the specific intent to give “in

           exchange for an official act.”). “ ‘[O]fficial act’ means any decision or action on any

           question, matter, cause, suit, proceeding or controversy, which may at any time be

           pending, or which may by law be brought before any public official, in such official’s

           official capacity, or in such official’s place of trust or profit.” 18 U.S.C. § 201(a)(3).

           Official acts under § 201 are broadly defined and include “[e]very action that is within

           the range of official duty.” United States v. Moore, 525 F.3d 1033, 1041 (11th Cir.

           2008) (quoting United States v. Birdsall, 233 U.S. 223, 230 (1914)) (alteration in

           original) (internal quotation marks omitted) (discussing that congressman writing letters

           to urge officials to take favorable action constituted officials acts).



                                                         11


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 12 of 19




                 Movant admits that Long was a public official. [Doc. 230, Mem. at 10.] Further,

           Movant has not contested his payments to Long, but has referred to them as “loans.”

           [Doc. 206 at 2626.] Thus, the element at issue is whether Movant gave the money to

           influence an official act. Movant is incorrect to define the relevant “official act” as

           only the actual granting of the contract, which he asserts Long lacked the authority to

           do.    Here, the relevant official acts are Long’s “reviewing and making

           recommendations concerning the awarding of government contracts, and his oversight

           of those contracts”5 – Long’s actions on matters brought before him. [Doc. 1, Attach.

           ¶ 17]; 18 U.S.C. § 201(a)(3). Movant does not contest that Long had authority to take

           those actions, and in fact admits that Long provided expertise to the contracting officer

           as to contractor qualifications and that his input was a factor considered by the

           contracting officer in awarding the contract or task. [Doc. 230, Mem. at 4-5, 16.] Thus

           the issue becomes whether [Movant] intended the money to influence Long’s actions

           in reviewing and making recommendations concerning the awarding of government

           contracts.




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                       Because Movant focuses on the award of the contracts, the Court does not
           address Long’s oversight of the contracts.

                                                      12


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 13 of 19




                  As stated earlier, on collateral review, it is Movant’s burden to demonstrate that

           he is entitled to relief, which he fails to do. Movant fails to show any viable argument

           that counsel should have presented, but did not, to show that Movant did not intend the

           money to influence Long’s actions (review and recommendations). As citations to the

           transcript above show, counsel did argue that the government’s attempt to show a quid

           pro quo failed because Stanley, not Long, picked who it would use as a sub-contractor,

           i.e., WATEC. Movant fails to show that counsel was deficient on this matter.

           Although Movant states that Long lacked influence6 over the official acts of procuring

           a contract or task for Movant, he admits that Long provided expertise to the contracting

           officer as to contractor qualifications and that his input as a technical consultant was

           a factor considered by the contracting officer in awarding the contract or task.

           [Doc. 230, Mem. at 4-5, 16.] That Long did not make the actual contracting decision,

           that he was required to provide input as a technical consultant, and that his input was

           one of other factors considered by the contracting officer do not show that Movant

           lacked intent to influence Long’s review and recommendations. Movant has not shown

           that Counsel’s failure to argue these issues was deficient.


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                        Movant’s argument regarding Long’s lack of influence focuses on Long’s
           lack of authority to make the actual contracting decision and is addressed as such.

                                                      13


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 14 of 19




                 B.     Ground Six

                 Movant asserts that appellate counsel provided ineffective assistance for failing

           to argue on appeal (a) the issue of the Osborne testimony as a matter of prosecutorial

           misconduct and (b) that the bribery conviction was invalid (as argued in Ground Five).

           [Doc. 230 at 6 and Mem. at 26-29.]

                 Claims of ineffective assistance of appellate counsel also are governed by the

           Strickland test. Owen v. Fla. Dep’t of Corr., 686 F.3d 1181, 1202 (11th Cir. 2012),

           petition for cert. filed, (U.S. Jan. 25, 2013) (No. 12-8439, 12A430). To succeed on a

           claim of ineffective assistance of appellate counsel, the movant must demonstrate

           deficient performance by counsel and demonstrate that, if counsel had not performed

           deficiently, there is a reasonable probability that the appellate outcome would have

           been favorable to the movant. See Ferrell v. Hall, 640 F.3d 1199, 1236 (11th Cir.

           2011).

                 In his Memorandum in Support on Ground Six, Movant does not pursue or

           explain an ineffective-assistance-of-appellate-counsel claim in regard to prosecutorial

           misconduct and the Osborn testimony. [Id. at 26-29.] Accordingly, Movant fails to

           meet his burden to show that appellate counsel was ineffective on the matter of

           prosecutorial misconduct and the Osborn testimony. Further, as discussed above,

                                                     14


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 15 of 19




           Movant’s bribery arguments in Ground Five lack merit, and appellate counsel was not

           deficient for failing to raise those arguments.

                 C.     Ground Seven

                 Movant asserts prosecutorial misconduct for violating Brady by failing to

           disclose the substance and depth of exculpatory evidence Osborn could provide and for

           initiating an investigation of Osborn for the purpose of obstructing her testimony in

           Movant’s case. [Doc. 230, Mem. at 29-36.]

                 Because Movant did not raise this claim on direct appeal, it is procedurally

           defaulted. Although Movant states in Ground Seven that ineffective assistance of

           counsel was the reason he did not raise prosecutorial misconduct on direct appeal, as

           indicated above, Movant provides no argument as to how or why appellate counsel was

           ineffective on a claim of prosecutorial misconduct. [Doc. 230 at 8 and Mem. at 26-29.]

           Movant fails to make a showing sufficient to overcome his procedural default.

                 D.     Ground Eight

                 Movant argues that trial and appellate counsel provided ineffective assistance for

           failing to argue that the honest-services and money-laundering convictions were invalid

           based on the invalidity of the bribery conviction. [Id. at 36-37.]




                                                      15


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 16 of 19




                 The Strickland standard stated above applies. As discussed earlier, Movant fails

           to show that trial or appellate counsel was ineffective in arguing that the bribery

           conviction was invalid. Thus, his related claim regarding the invalidation of his honest-

           services and money-laundering convictions must fail.

           IV.   Motion to Amend

                 On December 4, 2012, Movant filed a motion to amend.7 [Doc. 246.] Movant

           seeks to add a claim of ineffective assistance of appellate counsel for failure to raise a

           claim based on Skilling v. United States,_ U.S. _, 130 S. Ct. 2896 (2010), that the jury

           instructions on honest-services fraud were overbroad and allowed the jury to return a

           general verdict. [Doc. 246 at 3-5.] The government asserts that Movant’s motion

           should be denied because his claim is untimely and does not relate back to any timely-

           filed ground for relief. [Doc. 247.]

                 Movant’s motion to amend was submitted for filing well over a year after

           Movant’s convictions became final on September 5, 2011, ninety days after Movant’s

           convictions were affirmed on June 7, 2011. See Michel v. United States, 519 F.3d

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                         Generally, a prisoner filing may be deemed filed on the day that the
           prisoner delivered it for mailing to prison officials, which, absent evidence to the
           contrary, is presumed to be the date on which he signed it. Day v. Hall, 528 F.3d 1315,
           1318 (11th Cir. 2008) (citing Houston v. Lack, 487 U.S. 266, 276 (1988); Washington
           v. United States, 243 F.3d 1299, 1301 (11th Cir. 2001)).

                                                      16


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 17 of 19




           1267, 1268 n.1 (11th Cir. 2008) (stating that convictions became final when time to seek

           a writ of certiorari in the United States Supreme Court expired, ninety days after the

           Eleventh Circuit Court of Appeals affirmed convictions). Accordingly, Movant’s

           December 4, 2012, motion to amend is untimely. See 28 U.S.C. § 2255(f). Further, the

           motion cannot be considered timely under the relation back doctrine. See Davenport

           v. United States, 217 F.3d 1341, 1344 (11th Cir. 2000) (holding that in order for an

           otherwise untimely claim to be deemed timely under the relation back doctrine, “the

           untimely claim must have arisen from the ‘same set of facts’ as the timely filed claim,

           not from separate conduct or a separate occurrence in ‘both time and type’ ” (citations

           omitted)). The issue of appellate counsel’s assistance on a Skilling claim does not share

           the same core facts as Movant’s other claims and, thus, does not relate back to

           Movant’s timely filed claims. Accordingly, the motion to amend shall be denied.

           V.     Certificate of Appealability (COA)

                  Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court

           must issue or deny a certificate of appealability when it enters a final order adverse to

           the applicant. . . . If the court issues a certificate, the court must state the specific issue

           or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).”

           Section 2253(c)(2) states that a certificate of appealability may issue “only if the

                                                         17


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 18 of 19




           applicant has made a substantial showing of the denial of a constitutional right.”

           Section 2253(c)(2) states that a certificate of appealability may issue “only if the

           applicant has made a substantial showing of the denial of a constitutional right.” To

           satisfy that standard, a movant must demonstrate that “reasonable jurists could debate

           whether (or, for that matter, agree that) the petition should have been resolved in a

           different manner or that the issues presented were adequate to deserve encouragement

           to proceed further.” Lott v. Attorney Gen., 594 F.3d 1296, 1301 (11th Cir. 2010)

           (quoting Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)) (internal quotation marks

           omitted).

                 “When the district court denies a habeas petition on procedural grounds
                 without reaching the prisoner’s underlying constitutional claim,” . . . a
                 certificate of appealability should issue only when the prisoner shows both
                 “that jurists of reason would find it debatable whether the petition states
                 a valid claim of the denial of a constitutional right and that jurists of
                 reason would find it debatable whether the district court was correct in its
                 procedural ruling.”

           Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (quoting Slack v. McDaniel,

           529 U.S. 473, 484 (2000)).

                 Based on the above discussion, it is recommended that a COA is unwarranted.

           If the Court adopts this recommendation and denies a COA, Movant is advised that he

           “may not appeal the denial but may seek a certificate from the court of appeals under

                                                     18


AO 72A
(Rev.8/8
2)
            Case 1:08-cr-00043-CC-AJB Document 256 Filed 02/27/13 Page 19 of 19




           Federal Rule of Appellate Procedure 22.” Rule 11(a), Rules Governing Section 2255

           Proceedings for the United States District Courts.

           VI.   Conclusion

                 For the reasons stated above,

                 IT IS ORDERED that Movant’s motion to amend, [Doc. 246], is DENIED.

                 IT IS RECOMMENDED that Movant’s motion, [Doc. 230], to vacate, set

           aside, or correct his federal sentence be DENIED, and that a COA be DENIED.

                 The Clerk of Court is DIRECTED to withdraw the referral of this § 2255 motion

           to the undersigned Magistrate Judge.

                 IT IS SO ORDERED, RECOMMENDED, and DIRECTED, this 27th day

           of February      , 2013.




                                                  ALAN J. BAVERMAN
                                                  UNITED STATES MAGISTRATE JUDGE




                                                    19


AO 72A
(Rev.8/8
2)
